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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
                            _____________________________________


The STATE of TEXAS, et al.,

        Plaintiffs,

v.                                                   Civil Action No. 3:22-cv-00780-M

JOSEPH R. BIDEN JR., in his official capacity
as President of the United States, et al.,

        Defendants.




                                 JOINT STATUS REPORT
                          REGARDING JURISDICTIONAL DISCOVERY

        Pursuant to the Court’s Order of August 22, 2022, ECF No. 50, the parties jointly provide

the Court with an update on the status of jurisdictional discovery.

        Since the last update to the Court, the parties have engaged in further discussions and have

reached a tentative agreement, subject to further confirmation, on stipulating to narrow the scope

of jurisdictional discovery. The parties anticipate serving written discovery requests within the

first half of February.

        In light of this activity, the parties respectfully request that the Court continue the stay

governing this matter and continue to hold all pending deadlines in abeyance. The parties will file

a joint status report providing a further update on the progress of jurisdictional discovery on or by

February 15, 2023.




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Dated: January 17, 2022                     Respectfully submitted,


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                                       Certificate of Service

       On January 17, 2022, I electronically submitted the foregoing document with the Clerk of

Court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                      /s/ Joseph A. Darrow
                                                      JOSEPH A. DARROW
                                                      U.S. Department of Justice




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